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                            UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF THE DISTRICT OF COLUMBIA

--------------------------------------------------------------------X
ESTATE OF YAEL BOTVIN, by Russell Ellis,
Administrator
P.O. Box 7396                                                           Case no.
Jerusalem, Israel 9107301;                                              21-cv-3186

JULIE GOLDBERG-BOTVIN
Masaryk Street 7
                                                                        COMPLAINT
Jerusalem, Israel 93106;

TAMAR BOTVIN DAGAN                                                      Jury trial demanded
Yehudah Hamaccabi 1
Tel Aviv, Israel 620315; and

MICHAL BOTVIN,
Horkaniyah St. 22/13
Jerusalem, Israel 93305

                                  Plaintiff,

                          -against-

HEIDEMAN, NUDELMAN & KALIK, P.C.
5335 Wisconsin Avenue, NW, Suite 440
Washington, DC 20015

THE HEIDEMAN LAW GROUP, P.C.
5335 Wisconsin Avenue, NW, Suite 440
Washington, DC 20015;

RICHARD HEIDEMAN
5335 Wisconsin Avenue, NW, Suite 440
Washington, DC 20015;

NOEL NUDELMAN,
5335 Wisconsin Avenue, NW, Suite 440
Washington, DC 20015; and
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TRACY REICHMAN KALIK,
5335 Wisconsin Avenue, NW, Suite 440
Washington, DC 20015,

                                   Defendants.
--------------------------------------------------------------------X


          Plaintiffs, complaining of Defendants, by their attorneys, THE BERKMAN LAW

OFFICE, LLC, alleges for their complaint, upon information and belief, as follows:


                                               THE PARTIES
          1.     On the afternoon of September 4, 1997, three suicide bombers entered the

crowded Ben Yehuda Street pedestrian mall in downtown Jerusalem and detonated bombs

packed with nails, screws, pieces of glass, and chemical poisons. See Campuzano v. Islamic Rep.

of Iran, 281 F. Supp. 2d 258, 261 (D.D.C. 2003).

          2.     The explosion wounded nearly two hundred people, killing five.

          3.     Tragically, fourteen-year-old YAEL BOTVIN, the daughter of Plaintiff JULIE

GOLDBERG-BOTVIN and the sister of plaintiffs Tamar and MICHAL BOTVIN, was among

those killed.

          4.     At all times relevant to this complaint, RUSSELL ELLIS was duly appointed as

the Administrator of Plaintiff ESTATE OF YAEL BOTVIN, by order of the courts of the

Commonwealth of Pennsylvania, and brings this action in his capacity as Administrator of that

estate.

          5.     At the time of her death, and at all times relevant to this Complaint, Plaintiffs’

decedent YAEL BOTVIN was a dual citizen of the United States and Israel, was a resident of

Jerusalem, Israel, and was not a citizen or resident of any state of the United States.



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        6.      At all times relevant to this complaint, Plaintiff JULIE GOLDBERG-BOTVIN is

a dual citizen of the United States and Israel, is a resident of Jerusalem, Israel, and is not a citizen

or resident of any state of the United States.

        7.      At all times relevant to this complaint, Plaintiff TAMAR BOTVIN is a dual

citizen of the United States and Israel, and is a resident of Jerusalem, Israel, and is not a citizen

or resident of any state of the United States.

        8.      At all times relevant to this complaint, Plaintiff MICHAL BOTVIN is a dual

citizen of the United States and Israel, and is a resident of Jerusalem, Israel, and is not a citizen

or resident of any state of the United States.

        9.      Upon information and belief, at all times relevant to this complaint, Defendant

RICHARD HEIDEMAN is a citizen and resident of the State of Maryland.

        10.     Upon information and belief, at all times relevant to this complaint, Defendant

NOEL NUDELMAN is a citizen and resident of the State of Maryland.

        11.     Upon information and belief, at all times relevant to this complaint, Defendant

TRACY REICHMAN KALIK is a citizen and resident of the State of Maryland.

        12.     Upon information and belief, at all times relevant to this complaint, Defendant

HEIDEMAN, NUDELMAN & KALIK, P.C. is a professional corporation organized and

existing under the laws of a jurisdiction unknown to Plaintiffs. Although it holds itself out as a

Washington, D.C. law firm, there is no such entity registered with the District of Columbia.

        13.     Upon information and belief, at all times relevant to this complaint, Defendant

THE HEIDEMAN LAW GROUP, P.C. is a professional corporation organized and existing

under the laws of the District of Columbia.




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       14.     Upon information and belief, at all times relevant to this complaint Defendant

THE HEIDEMAN LAW GROUP, P.C. does business under the name and style HEIDEMAN,

NUDELMAN & KALIK, P.C.

       15.     Upon information and belief, at all times relevant to this complaint, THE

HEIDEMAN LAW GROUP, P.C. and/or Defendant HEIDEMAN, NUDELMAN & KALIK,

P.C have also been known as HEIDEMAN LEZELL NUDELMAN & KALIK, P.C

       16.     Upon information and belief, at all times relevant to this complaint Defendant

THE HEIDEMAN LAW GROUP, P.C., HEIDEMAN, NUDELMAN & KALIK, P.C, and

HEDEMAN LEZELL NUDELMAN & KALIK, P.C. are one and the same entity.

       17.     Upon information and belief, at all times relevant to this complaint Defendant

RICHARD HEIDEMAN holds himself out as an attorney licensed to practice law in the District

of Columbia and other jurisdictions, and expert at handling cases on behalf of victims of

international terrorism.

       18.     Indeed, RICHARD HEIDEMAN promotes himself and his firm on his website,

www.richardheideman.com, as possessing extreme experience and expertise in handling

litigation on behalf of victims of terrorism:

       The firm serves as lead counsel representing American victims of terrorism in
       claims brought or pending against Libya, Syria, the Islamic Republic of Iran, the
       PLO and other organizations and financial institutions accused of providing
       material support for terrorism. The firm has been awarded Judgments against the
       Islamic Republic of Iran in the amounts of $1.27 billion and $813 million; and
       against the Syrian Arab Republic in the amounts of $601 million, $51 million and
       a landmark Judgment of $3.4 billion. The firm has represented numerous victims
       of terror before the US Foreign Claims Settlement Commission and is counsel to
       American Victims of terrorism against the Arab Bank, plc, which was pending in
       the Eastern District of New York.
www.richardheideman.com/about (last visited Nov. 30, 2021)


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       19.     Upon information and belief, at all times relevant to this complaint Defendant

NOEL NUDELMAN holds himself out as an attorney licensed to practice law in the District of

Columbia, the State of New York, the federal courts located in the State of New York, and other

jurisdictions, and expert at handling cases on behalf of victims of international terrorism.

       20.     Upon information and belief, at all times relevant to this complaint Defendant

TRACY KALIK holds herself out as an attorney licensed to practice law in the District of

Columbia, the State of New York, the federal courts located in the State of New York, and other

jurisdictions, and expert at handling cases on behalf of victims of international terrorism.


                                         JURISDICTION
       21.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332(a)(2), as

this case presents a dispute between Plaintiffs, who are citizens and residents of a foreign state

and who are not citizens of any state of the United States, and Defendants, who are citizens and

residents of Maryland and Washington, D.C.


                                  THE UNDERLYING FACTS
       22.     On September 4, 1997 Plaintiffs’ decedent, 14-year-old YAEL BOTVIN, was

murdered in a triple suicide bombing terror attack on the Ben Yehuda Street pedestrian mall in

Jerusalem, Israel.

       23.     Two hundred people were injured, and five people were killed in that attack.

       24.     Among those killed in that attack was Plaintiff’s decedent, 14 year old YAEL

BOTVIN.

       25.     Among those injured in that attack were American citizens Diana Campuzano,

Avi Elishis, and Gregg Salzman, who were the plaintiffs in Campuzano, et al. v. Islamic Rep. of

Iran, et al., D.C. Dist. Docket no. 00-cv-2328.

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       26.     Among those injured in that attack were Jenny Rubin, Daniel Miller, Abraham

Mendelson, Stuart Hersh, and Noam Rozenman, the plaintiffs in Rubin v. Islamic Rep. of Iran,

DC Dist. Ct. Docket no. 01-CV-1655.

       27.     The Campuzano case filed in September 2000 and the Rubin case filed in July

2001 were tried together in January 2003, resulting in substantial judgment awards being entered

in September 2003 in favor of each of the plaintiffs in those cases, Campuzano v. Islamic Rep. of

Iran, 281 F. Supp. 2d 258, 261 (D.D.C. 2003).

       28.     A few months later, in February 2004 Plaintiffs retained Defendant Heideman,

then operating via the entity Heideman Lezel Nudelman & Kalik, P.C. to bring an action for

damages resulting from the suicide bombing at the Ben Yehuda Street mall in Jerusalem that

murdered young Yael Botvin.

       29.     Defendants continue representing Plaintiffs to this day with respect to their claim

for damages resulting from the suicide bombing at the Ben Yehuda Street mall in Jerusalem that

murdered young Yael Botvin.

       30.     The lawsuit Defendants were retained to bring should have been extremely quick

and easy, given that two other lawsuits arising out of the same events had already reached final

judgment after a hearing on the merits at which expert testimony was offered and which resulted

in a lengthy published opinion. It should have been a matter of filing a copycat complaint,

serving it, waiting for Iran to default (as Iran always does in cases of this nature), then moving

for a default judgment, presenting the same evidence as was presented in Campuzano and Rubin,

and presenting evidence of the economic and emotional damages suffered by the Botvin family.

The Rubin case progressed from initial filing to final judgment in just 16 months. Since the

attorneys in Campuzano and Rubin had already done the work, the Botvins’ case should have

progressed even more quickly.
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       31.     To illustrate that the Botvin case should have proceeded rapidly, one need only

look at the docket in Salzman v. Islamic Rep. of Iran, 17-cv-2475 (D.D.C.). In that case, relatives

of the terror victim plaintiffs in the Campuzano case sued for their own solatium damages

resulting from the same 1997 terror attack as was at issue in the Campuzano case, which is the

same attack that resulted in the death of Yael Botvin. Salzman was filed on November 16, 2017,

and resulted in final judgment 22 months later on September 25, 2019. Salzman relied on the

same evidence as had been presented in Campuzano plus simple new declarations regarding

damages. However, the Salzman case was stayed for nine of those months while the court waited

for the Court of Appeals for the District of Columbia Circuit to decide an appeal regarding the

statute of limitations, Maalouf v. Islamic Republic of Iran, (D.C. Cir. No. 18-7052) (see Salzman

Dkt. 23, Aug. 5, 2018 staying the action, and Salzman unnumbered docket entry dated May 10,

2019 un-staying the action). Subtracting the nine months that the case was stayed, Salzman went

from filing to final judgment in just 13 months. There is no reason the Botvins’ case could not

have proceeded on a similar trajectory.

       32.     Inexplicably, Defendants delayed a full year after being retained to even file a

lawsuit: it was not until January 31, 2005 that Defendants filed an action against Iran.

       33.     That action, Ellis v. Islamic Rep. of Iran, 05-cv-00220 (D.D.C.) (“Action 1”), was

filed under 28 USC § 1605(a)(7) (“Old Law”), a statute that provided an exception to sovereign

immunity for claims of victims of state sponsored terrorism but which required the plaintiffs to

establish a cause of action under the law of a relevant jurisdiction, rather than supplying a federal

cause of action.

       34.     Service in Action 1 was accomplished in June 2005 (see Dkt. 5 in that case).

       35.     Defendants filed a motion for entry of a default in Action 1 in September 2005

(see Dkt. 5 in that case), which motion was signed by Defendant TRACY REICHMAN KALIK.
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        36.     That motion was denied, and the motion ordered stricken, in a terse minute order

dated July 20, 2006 stating “Under Rule 55(a), an application for entry of default should be made

to the Clerk, not the court.”

        37.     Thus, more than a year (from June 2005 – September 2006) was wasted by

Defendants filing the wrong application to the court.

        38.     Defendants failed to contemporaneously inform Plaintiffs of the court’s decision,

and at all times deceived Plaintiffs by telling them the case was proceeding splendidly and a

judgment would soon be obtained.

        39.     Defendants have tried to shift blame for the year they wasted by asserting that the

problem was the court, which took 10 months to decide the motion, but in so doing they fail to

grasp that they were the ones who had failed to read or understand Rule 55(a) and made the

wrong application. Fed. R. Civ. P. could not be clearer: “When a party against whom a judgment

for affirmative relief is sought has failed to plead or otherwise defend, and that failure is shown

by affidavit or otherwise, the clerk must enter the party’s default.” Id. It is unseemly for

Defendants, who filed the wrong motion, to blame the court for delay in deciding it, which of

course ignores the heavy calendars that the court faces and the court’s expectation that the

attorneys who practice before it will read the rules and file the proper applications.

        40.     Finally, on July 28, 2006 Defendants filed the proper application for a default in

Action 1 (Dkt. 12 in that case), and just three days later on July 31, 2006 the Clerk noted Iran’s

default in that case (Dkt. 13 in that case).

        41.     Had Defendants filed the proper application for a default back in September 2005,

the default in Action 1 would have been entered in September 2005 instead of nine months later

in July 2006, which delay is the result of Defendants’ error.



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       42.     After having the defendant’s default noted on the docket, the next step to

obtaining a judgment in Action 1 was to file a motion for a judgment by default, presenting proof

of liability and damages establishing plaintiff’s “claim or right to relief by evidence satisfactory

to the court,” 28 U.S.C. § 1608(e), see Roeder v. Islamic Rep. of Iran, 195 F. Supp. 2d 140, 159

(DDC 2002).

       43.     Rather than file a motion for a default judgment presenting evidence as required,

on October 15, 2006 Defendants filed a bizarre motion asking the Court to take judicial notice of

the orders in Campuzano and Rubin and to simply grant Plaintiffs a judgment on the basis of

Campuzano and Rubin.

       44.     On September 24, 2007 the Court entered an order, Estate of Botvin v. Iran, 510

F. Supp. 2d 101 (D.D.C. 2007) (Ex. A) granting the unremarkable application to take judicial

notice of findings entered in another case in the same courthouse, but denying the application for

a default judgment based on nothing but such judicial notice. The court explained:

       Pursuant to FSIA, a court may not enter a default judgment against a foreign state
       “unless the claimant establishes his claim or right to relief by evidence
       satisfactory to the court.” 28 U.S.C. § 1608(e); Roeder v. Islamic Rep. of Iran,
       195 F. Supp. 2d 140, 159 (D.D.C. 2002) (requiring evidence on each element of
       claims). In evaluating the plaintiff's proof, a court contemplating entry of default
       judgment may accept as true the plaintiff’s uncontroverted evidence, which may
       take the form of sworn affidavits or prior transcripts. Greenbaum v. Islamic Rep.
       of Iran, 451 F. Supp. 2d 90, 94-95 (D.D.C. 2006). Such evidence may include
       judicial notice of findings and conclusions of related proceedings in cases before
       the same court. Estate of Heiser v. Islamic Rep. of Iran, 466 F. Supp. 2d 229, 262-
       63 (D.D.C. 2006).
       The plaintiffs request a default judgment on liability despite having proffered no
       evidence other than the Campuzano findings and conclusions. See generally Pls.’
       Mot for Judicial Notice. Those findings and conclusions suffice to establish the
       defendants’ guilt in perpetrating the attack in question, see id., but, as the
       Campuzano case involves different plaintiffs, they do not suffice to establish the
       impact of the attack on the plaintiffs. The identity of the plaintiffs, their

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       relationship with the deceased and the impact of the bombing upon them goes not
       only to establishing damages but also liability. See, e.g., Compl. at P 32, 35
       (providing unsubstantiated allegations of Yael Botvin’s death and the plaintiffs'
       status as her beneficiaries). The court will, therefore, take judicial notice of the
       Campuzano findings and conclusions per the plaintiffs’ request, but it will not
       enter a default judgment at this time. In lieu thereof, the court will permit the
       plaintiffs to file competent written and documentary evidence with the court
       establishing each element of their particular claims as to both liability and
       damages.
Estate of Botvin, 510 F. Supp. 2d at 103 (Ex. A).

       45.     Thus, the Court held that Defendants had filed a half-baked application that was

insufficient for the actual entry of a judgment: while certain things could be established by the

evidence and findings in the earlier case, Defendants’ submission failed to connect those findings

to these plaintiffs, and to make a showing of damages.

       46.     This half-baked application further delayed Plaintiffs’ case by 11 months.

       47.     Defendants failed to contemporaneously inform Plaintiffs of the court’s decision,

and at all times deceived Plaintiffs by telling them the case was proceeding splendidly and a

judgment would soon be obtained.

       48.     Four months later, on January 28, 2008 Congress enacted 28 USC § 1605A

(“New Law”), a new statute which remedied some issues in the Old Law making it easier for

victims to prevail in in terrorism cases and obtain awards for solatium damages, particularly by

negating the D.C. Circuit’s holding in Cicippio-Puleo v. Islamic Rep. of Iran, 353 F.3d 1024,

1027 (D. C. Cir. 2004), which held that the § 1606(a)(7) Old Law provided jurisdiction but did

not provide a cause of action, leaving plaintiffs to rely on the law of particular jurisdictions,

some of which allowed such claims, and some of which did not. See Simon v. Rep. of Iraq, 529

F.3d 1187, 1190 (D.C. Cir. 2008) (describing § 1605A as “more advantageous to plaintiffs in

several respects. For instance, it precludes a foreign state from filing an interlocutory appeal

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under the “collateral order” doctrine, § 1605A(f), and permits a plaintiff to attach property in

advance of judgment, § 1605A(g). In addition, § 1605A(c) abrogates Cicippio-Puleo…by

creating a federal right of action against foreign states, for which punitive damages may be

awarded.”); see also also Estate of Heiser v. Islamic Rep. of Iran, 605 F. Supp. 2d 248, 249

(D.D.C. 2009) (“This new enactment is much more advantageous to plaintiffs than §1605(a)(7)

in many significant respects. For instance, in actions under §1605A, plaintiffs may now seek an

award of punitive damages against states sponsors of terrorism.”); Estate of Botvin v. Islamic

Rep. of Iran, 604 F. Supp. 2d 22, 25 (D.D.C. 2009); Opati v. Rep. of Sudan, 140 S. Ct. 1601,

1606 (2020).

       49.     Under the New Law, § 1605A, any plaintiff with a pending claim under the Old

Law, § 1605(a)(7), was permitted to file a new action under 1605A as long as the action under

§ 1605(a)(7) was pending:

       Inasmuch as this provision expressly distinguishes between cases “filed under this
       section”—i.e., § 1605A—and cases “filed under section 1605(a)(7)” of the pre-
       amendment Act, a pending case obviously cannot be said to have been “filed
       under” the new provision. Therefore, the plaintiff in a case pending under
       § 1605(a)(7) may not maintain that action based upon the jurisdiction conferred
       by § 1605A; in order to claim the benefits of § 1605A, the plaintiff must file a
       new action under that new provision.
Simon v. Republic of Iraq, 529 F.3d 1187, 1191-92 (D.C. Cir. 2008).

       50.     Defendants were fully aware of the enactment of § 1605A, as they themselves

filed other cases relying on this new statute on behalf of other clients of theirs shortly after it

went into effect, e.g. Knowland v. Great Socialist People’s Libyan Arab Jamahiriya, 08-cv-1309

(DDC 2008) (filed July 30, 2008); Pflug v. People’s Libyan Arab Jamahiriya, 08-cv-505 (DDC

2008) (replacing older action filed under § 1605(a)(7), filed March 24, 2008); Brown v. Islamic

Rep. of Iran, 08-cv-531 (DDC 2008) (filed March 27, 2008).


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       51.     Indeed, on March 24, 2008, less than three months after Congress enacted the

New Law, Defendants actually filed an action on behalf of Plaintiffs under the New Law,

Goldberg-Botvin v. Islamic Republic of Iran, D.D.C. case no 08-cv-503 (“Action 2”). That

complaint was signed by Defendant RICHARD HEIDEMAN.

       52.     Unfortunately, Defendants took no steps to prosecute Action 2.

       53.     Over a year Action 2 was filed, no proof of service had been docketed, and the

court (Urbina, J.) issued a minute order “directing the plaintiffs to SHOW CAUSE on or before

April 3, 2009 why the court should not dismiss this suit for failure to prosecute.” (D.D.C. case

no. 08-cv-503, unnumbered docket entry dated Mar. 27, 2009).

       54.     Defendants failed to contemporaneously inform Plaintiffs of the court’s decision,

and at all times deceived Plaintiffs by telling them the case was proceeding splendidly and a

judgment would soon be obtained.

       55.     Despite Judge Urbina’s order to show cause, Defendants still took no steps to

prosecute Action 2.

       56.     There is no indication that Defendants ever served the summons and complaint in

Action 2.

       57.     Defendants failed to file any response to the court’s order to show cause.

       58.     Eleven months later, on April 23, 2010, the Court issued an order dismissing

Action 2 for lack of prosecution (Ex. B).

       59.     Defendants failed to contemporaneously inform Plaintiffs of the court’s decision,

and at all times deceived Plaintiffs by telling them the case was proceeding splendidly and a

judgment would soon be obtained.




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        60.     Defendants thus wasted 25 months between when Action 2 was filed and when it

was ignominiously dismissed for non-prosecution, delaying Plaintiffs’ claims under the New

Law.

        61.     Instead of diligently pursuing Plaintiff’s claims under the New Law in Action 2,

Defendants senselessly continued trying to prosecute Action 1 under the Old Law.

        62.     On March 21, 2008, Defendants filed a third motion for a default judgment in

Action 1 (Dkt. 17 and 18 in that case). By this point more than three years had elapsed since

Action 1 was filed, more than four years had elapsed since Defendants were retained, more than

five years had elapsed since the Campuzano and Rubin plaintiffs had obtained their judgment

arising out of the same event, and almost eleven years had elapsed since the terrorist murder of

Yael Botvin. That third motion for a default judgment in Action 1 was signed and e-filed by

Defendant TRACY REICHMAN KALIK.

        63.     This motion also asked the court to amend the complaint to assert a cause of

action under the New Law.

        64.     On March 27, 2009 the court entered an order deciding the third motion for a

default judgment in Action 1, Estate of Botvin v. Islamic Rep. of Iran, 604 F. Supp. 2d 22

(D.D.C. 2009) (Ex. C). The Court’s order was not kind in its assessment of the legal

representation provided by Defendants. The Court observed that the motion papers contained

“weighty deposition testimony and a bevy of unsworn statements, pictures and newspaper

articles,” Botvin, 604 F. Supp. 2d at 24 (D.D.C. 2009) (emphasis in original), but did “not

explain how these documents are relevant to or aid in the satisfaction of each element of their

particular claims as the court directed.” Id. As an example, the Court recounted that “the

plaintiffs’ motion states that the plaintiffs are U.S. citizens and cites to a portion of plaintiff Julie

Goldberg-Botvin’s deposition that has nothing to do with citizenship.” Id., citing Potter v.
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District of Columbia, 558 F.3d 542, 2009 U.S. App. LEXIS 4540, 2009 WL 564630, at *10

(D.C. Cir. Mar. 6, 2009) (Williams, J., concurring) (stating that “judges ‘are not like pigs,

hunting for truffles buried in briefs’ or the record” (quoting United States v. Dunkel, 927 F.2d

955, 956 (7th Cir. 1991)), the Court observed that it was “not inclined to independently search

through volumes of deposition transcripts to determine whether the plaintiffs have stated a

claim.” Id. The Court also noted that “the plaintiffs cite a medical report for the proposition that

Yael survived the explosion for a short time,” id., whereas “[t]he author of the report, however,

makes no such determination that Yael received medical attention after the attack.” Id. And the

Court noted that “the plaintiffs fail to explain why the methodology employed by their enlisted

economist and the amount requested in damages is consistent with case law in this district.” Id.

       65.     Regarding the prong of the third default motion in Action 1 which asked the court

to amend the complaint to assert a cause of action under the New Law, the court found the

motion failed to explain why the New Law should be applicable to the case, and so denied that

prong of the motion. Id., 604 F. Supp. 2d at 25-26.

       66.     Defendants failed to contemporaneously inform Plaintiffs of the court’s decision,

and at all times deceived Plaintiffs by telling them the case was proceeding splendidly and a

judgment would soon be obtained.

       67.     Defendants’ having asked the court to amend the complaint in Action 2 to assert

their claim under § 1605A rather than pursuing the § 1605A claim in Action 2, the new action

they had commenced under § 1605A, makes no sense and ignores the teachings of Simon that “in

order to claim the benefits of § 1605A, the plaintiff must file a new action under that new

provision.” Simon, 529 F.3d at 1191-92.

       68.     Thus, despite the New Law, § 1605A, having permitted plaintiffs with pending

claims under the Old Law to file a new complaint asserting a cause of action under the New
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Law, § 1605A—which would plainly have been the correct path—Defendants decided to ask the

Court to follow a path of their own invention that the D.C. Circuit in Simon had already held was

wrong: moving to amend the existing complaint to add a claim under § 1605A.

       69.     Defendants’ failure to proceed as Simon said is all the more perverse given that

Defendants had actually filed a new action under the New Law, § 1605A, but for no good reason

failed to serve the summons and complaint, ignored the court’s order to show cause, and allowed

the case to be dismissed for lack of prosecution.

       70.     Defendants’ failure to proceed as Simon said is even more bizarre since at the

same time as they filed their ill-advised motion to amend in the Botivn case, they followed the

correct path and filed and pursued new actions under § 1605A for their other clients, such as the

plaintiffs in Estate of Brown v. Islamic Rep. of Iran, 08-cv-531 (D.D.C. 2008) (filed March 27,

2008, replacing actions filed under the old laws under case numbers 01-cv-2094, 05-cv-2124, 06-

cv-750, 06-cv-596, 07-cv-1302, 06-cv-690, and 06-cv-516), or the plaintiffs in Pflug v. Great

Socialist People’s Libyan Arab Jamahiriya, 08-cv-505 (D.D.C. 2008) (filed March 24, 2008,

replacing actions filed under the old laws under case number 03-cv-749).

       71.     On May 28, 2009, Action 2 was languishing due to Defendants’ failure to

prosecute it, Defendants filed a “renewed” motion for a default judgment in Action 1, essentially

a fourth motion for the same relief, which they termed on the docket a “Supplemental Motion for

a Default Judgment.” (Action 1, Dkt. # 22). That motion was signed and efiled by Defendant

TRACY REICHMAN KALIK. This time, the motion asked the Court to grant a judgment under

the Old Law, 28 U.S.C. § 1605(a)(7); in other words, Defendants continued their stubborn

refusal to do what the statute said and pursue a new action under the New Law. Because courts

had held that the Old Law, § 1605(a)(7), created only jurisdiction and not a cause of action, and

therefore a cause of action brought under § 1605(a)(7) had to be based on some applicable local
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law, that motion argued at length that Plaintiffs’ claims should be decided under California law,

resting the assertion of California law on the thin reed that Plaintiffs’ decedent Yael Botvin had

been born in California, though she had emigrated to Israel many years earlier and had not

returned to California.

       72.     Meanwhile, other terror victims with similar claims were being industrious rather

than inept and lackadaisical like Defendants. One such group, of plaintiffs, comprised of 241

deceased service members and injured survivors of the October 23, 1983 suicide bombing attack

of a Marine barracks in Beirut, Lebanon, had also filed an action against Iran. That action was

Peterson v. Islamic Rep. of Iran, 01-2094 and 01-2684 (D.D.C.). Due to the large number of

plaintiffs, the judgment in that case, entered September 7, 2007, was enormous, collectively

totaling $2,656,944,877.

       73.     After obtaining their judgment, the Peterson Plaintiffs took measures to enforce

it. Among other things, they registered their judgment in the Southern District of New York and

served writs of garnishment on banks and financial institutions that potentially held assets of

Iran. They discovered that Citibank held an account referred to as the “Clearstream” account,

which contained a vast trove of Iranian assets—over $1.8 billion. On or about June 13, 2008 the

Peterson Plaintiffs served a writ of execution on Citibank.

       74.     The Peterson Plaintiffs were not the only lawyers being diligent. The Rubin

plaintiffs were also not asleep at the switch. On or about October 10, 2008 the Rubin plaintiffs,

who had obtained their judgment against Iran back in 2003, delivered a writ of execution to the

U.S. Marshal for service upon Citibank seeking to enforce their judgment against the assets in

the Clearstream account. It must be recalled that the Rubin plaintiffs were injured in the same

terrorist attack that killed Yael Botvin.



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        75.     Other terror victims who had obtained judgment against Iran did likewise, serving

executions and other forms of creditor process on Citibank seeking turnover of the Clearstream

assets. Ultimately, the numerous judgment-creditors named in 16 judgments, all of which had

multiple plaintiff / judgment-creditors, served executions. The 16 judgments included: Estate of

Bland v. Islamic Rep. of Iran, No. 1:05– cv–02124 (D.D.C., Dec. 6, 2006); Wultz v. Islamic Rep.

of Iran, 864 F. Supp. 2d 24 (D.D.C. 2012); Murphy v. Islamic Rep. of Iran, 740 F. Supp. 2d 51

(D.D.C. 2010); Valore v. Islamic Rep. of Iran, 700 F. Supp. 2d 52 (D.D.C. 2010) (granting

judgment in consolidation of four actions at issue here: Valore, No. 1:03–cv–01959; Bonk v.

Islamic Rep. of Iran, No. 1:08–cv–01273; Spencer v. Islamic Rep. of Iran, No. 1:06–cv–00750;

and Arnold v. Islamic Rep. of Iran, No. 1:06–cv–00516); Estate of Brown v. Islamic Rep. of Iran,

No. 1:08–cv–00531 (D.D.C., Feb. 1, 2010); Acosta v. Islamic Rep. of Iran, 574 F. Supp. 2d 15

(D.D.C. 2008); Beer v. Islamic Rep. of Iran, 574 F. Supp. 2d 1 (D.D.C. 2008); Kirschenbaum v.

Islamic Rep. of Iran, 572 F. Supp. 2d 200 (D.D.C. 2008); Levin v. Islamic Rep. of Iran, 529 F.

Supp. 2d 1 (D.D.C. 2007); Estate of Heiser v. Islamic Rep. of Iran, 466 F. Supp. 2d 229 (D.D.C.

2006); Greenbaum v. Islamic Rep. of Iran, 451 F. Supp. 2d 90 (D.D.C. 2006); Campuzano v.

Islamic Rep. of Iran, 281 F. Supp. 2d 258 (D.D.C. 2003) (awarding judgment in Rubin v. Islamic

Rep. of Iran, No. 1:01–cv–01655); and Peterson v. Islamic Rep. of Iran, 264 F. Supp. 2d 46

(D.D.C. 2003).

        76.     The plaintiffs in Bland v. Islamic Rep. of Iran, No. 1:05– cv–02124 (D.D.C., Dec.

6, 2006), which is among the cases listed in the previous paragraph as having filed liens on the

Clearstream assets, were represented by Defendants. Thus Defendants by having been diligent in

their representation of their clients in the Bland case were able to get their Bland clients a lien on

the Clearstream assets, while Defendants were still floundering around for years trying to get the

Plaintiffs’ case in gear.
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       77.     Defendants did not file any process seeking to recover any of the Clearstream

assets for Plaintiffs, as due to their bumbling they had not yet obtained a judgment against Iran

for Plaintiffs, although they would have done so years before but for their inattentiveness and

procrastination.

       78.     Defendants failed to inform Plaintiffs of the existence of the Clearstream assets or

of the possibility of recovering some of those assets.

       79.     On or about February 16, 2010, the Court entered an order deciding the fourth

motion for a default judgment made by Defendants, Estate of Botvin v. Islamic Rep. of Iran, 684

F. Supp. 2d 34 (D.D.C. 2010) (Ex. D). Although the Court found jurisdiction to exist, it held that

under the choice of law analysis most recently reaffirmed by the D.C. Circuit in Oveissi v.

Islamic Rep. of Iran, 573 F.3d 835 (D.D.C. Mar. 12, 2009), it would be Israeli law, not

California law, that governed the claim, since Yael Botvin was a long-time resident of Israel and

was killed in Israel, and had only a tangential connection to California. The Court concluded:

       Although the plaintiffs’ motion acknowledges the possibility that Israeli law may
       apply, it fails to establish their entitlement to a judgment in their favor under
       Israeli law. See generally Pls.’ Mot. For example, the plaintiffs evaluate their
       IIED [intentional infliction of emotional distress] claim solely under California
       law without mentioning Israeli law concerning IIED. See Pls.’ Mot. at 18-22.
       Likewise, although the plaintiffs have established that the victim survived for
       approximately four hours after the infliction of her injuries in the terrorist attack,
       see id. at 15-17, they have not established the defendants’ underlying tort liability
       for assault, battery and IIED under Israeli law as required to succeed on their
       survival claim, see id. at 14-18. The plaintiffs also evaluate their wrongful death
       claim solely under California law. See id. at 14. Similarly, the plaintiffs fail to
       establish vicarious liability under Israeli law, as they rely on the Campuzano
       conclusions of law, which found vicarious liability under D.C. law only. See id. at
       13. Furthermore, the plaintiffs have failed to establish that their calculation of
       damages comports with Israeli law. See id. at 22-26.
       Therefore, the court denies without prejudice the plaintiffs’ renewed motion for
       default judgment. The court grants the plaintiffs leave to submit additional

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       briefing demonstrating their entitlement to a judgment in their favor under Israeli
       law.
Id., 684 F. Supp. 2d at 41-42.

       80.     Defendants failed to contemporaneously inform Plaintiffs of the court’s decision,

and at all times deceived Plaintiffs by telling them the case was proceeding splendidly and a

judgment would soon be obtained.

       81.     On or about July 9, 2010, Defendants filed yet another motion for a default

judgment—their fifth motion seeking that relief (Action 1, Dkt. # 26). That motion was signed

and e-filed by Defendant TRACY REICHMAN KALIK. Defendants still failed to remedy what

the Court said was lacking in their presentation under the Old Law. And they still failed to

pursue Action 2 under the New Law. This fifth motion in Action 1 sought to reargue the previous

decision and convince the Court to apply California law, and also made a half-hearted

presentation under Israeli law.

       82.     On or about March 25, 2011, the Court decided Defendants’ fifth motion for a

default judgment, Estate of Botvin v. Islamic Rep. of Iran, 772 F. Supp. 2d 218 (D.D.C. 2011)

(Ex. E). The Court again rejected the request to apply California law, and further denied the

motion to enter judgment under Israeli law, finding that Plaintiffs had failed to demonstrate that

their claim was viable under Israeli law. Id.

       83.     Defendants’ ongoing efforts to shoehorn Plaintiffs’ claims into California law or

Israeli law made no sense, since the New Law, § 1605A, created its own federal cause of action

and it was no longer necessary to prove a claim under the law of California, Israel, or any other

particular jurisdiction. Defendants continued their stubborn and inept refusal to pursue Action 2

under the new law.




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       84.       Defendants failed to contemporaneously inform Plaintiffs of the court’s decision,

and at all times deceived Plaintiffs by telling them the case was proceeding splendidly and a

judgment would soon be obtained.

       85.       Meanwhile, other plaintiffs in other cases who were not waylaid by this error

were forging ahead with their collection efforts.

       86.       On or about August 11, 2011 Citibank filed an interpleader complaint naming as

parties all holders of judgments against Iran who had moved to intervene in the Peterson action,

who had served writs of execution against Citibank, or who had served a lis pendens on Citibank

with respect to Iranian assets. Citibank, N.A. v. Owens, et al, 10-Civ.-4518 (S.D.N.Y.) (third

party action).

       87.       Sadly, Plaintiffs were not named in the Citibank interpleader complaint because

they did not have a judgment against Iran due to Defendants’ bumbling and ineptness.

Defendants’ other clients, the plaintiffs in Bland, were part of the interpleader complaint;

Plaintiffs were not since they still had no judgment. Defendants had been retained by Plaintiffs in

2004 (!!), but had still not been able to get a motion for default judgment right despite five

attempts, and had filed but then failed to prosecute an action under the New Law—which by this

point was not so new anymore, as it had been enacted three and a half years earlier.

       88.       On or about September 15, 2011 Defendants filed a sixth motion seeking a default

judgment under the Old Law, this time beefing up the presentation of Israeli law. (Action 1, Dkt.

# 30). That motion was signed by Defendant RICHARD HEIDEMAN and Matthew S. Apfel,

Esq., who signed on behalf of Defendant HEIDEMAN NUDELMAN & KALIK, P.C., and was,

upon information and belief, an associate of that firm, and was e-filed by Mr. Apfel.

       89.       On or about July 3, 2012 the Court decided that motion, Estate of Botvin v.

Islamic Rep. of Iran, 873 F. Supp. 2d 232 (D.D.C. 2012) (Ex. F). In that decision, the Court
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found that the defendants in that case were liable for the terror attack that killed Plaintiffs’

decedent Yael Botvin, and awarded damages to the Estate of Yael Botvin under Israeli law, but

found that Plaintiffs had not demonstrated that the other plaintiffs, the family members of Yael

Botvin, were entitled to damages under Israeli law, nor were any of the plaintiffs entitled to

punitive damages. Id. The Court noted that:

        this decision was decision is another sad example of the inconsistent results
        arising from this defunct regime: the family members of Yael Botvin receive no
        solatium compensation while family members of victims in the earlier
        Campuzano decision received millions of dollars in solatium compensation.
Id., 873 F. Supp. 2d at 246. However, the Court continued: “thankfully, since the creation of the

federal cause of action contained in 28 U.S.C. § 1605A, these cases are becoming less common.”

Id.

        90.     Defendants informed Plaintiffs that an award had been made to the Estate of Yael

Botvin, and presented it as a big victory, conspicuously omitting to mention that the case had

been severely delayed by their negligence, that the claims on behalf of the other plaintiffs had

been denied, and that they had allowed the claim under the New Law in Action 2 to be dismissed

for lack of prosecution.

        91.     During     these   four    plus   years   that   Defendants   were   dithering,   the

Peterson/Citibank was proceeding. Indeed, on or about June 1, 2012, a settlement agreement was

entered into in the Peterson/Citibank case dividing the Iranian assets at Citibank (about $1.9

billion, plus interest accruing) among the judgment creditors who had filed creditor process

against those funds, dividing the money pro rata according to their judgment amount, assuming

plaintiffs prevailed.

        92.     That settlement agreement was signed by Defendant RICHARD HEIDEMAN on

behalf of his clients in the Bland case.

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       93.     According to that settlement agreement, the Peterson/Citibank money was to be

divided as follows:

                                                   Pro rata            Share of Peterson/
   Case name          Judgment Amount ($)
                                                  percentage           Citibank funds ($)
Peterson                 2,656,944,877.00            70.944%         1,347,075,046.40
Greenbaum                   19,879,023.00             0.531%            10,078,694.54
Acosta                      50,172,000.00             1.340%            25,437,279.42
Rubin                       71,500,000.00             1.909%            36,250,607.47
Heiser                     291,089,966.00             7.773%           147,583,050.31
Levin                       28,807,719.00             0.769%            14,605,556.84
Valore                     290,291,092.00             7.751%           147,178,019.99
Kirshenbaum                 13,750,000.00             0.367%             6,971,270.67
Beer                        13,000,000.00             0.347%             6,591,019.54
Murphy                      31,865,570.00             0.851%            16,155,891.89
Bland                      277,805,908.00             7.418%           140,848,012.94

                         3,745,106,155.00             100.00%        1,898,774,450.00


       94.     Apparently when the judge in the July 3, 2012 decision remarked about the

tragedy of this case having proceeded under the Old Law, 28 U.S.C. § 1605(a)(7), and how the

need for each plaintiff to establish a claim under the law of some particular jurisdiction had been

obviated by the New Law, 28 U.S.C. § 1605A, which also clearly allowed solatium damages for

family members, Defendants finally got the message that they needed to file a new action for

Plaintiffs under the New Law to replace not only Action 1 under the Old Law but Action 2,

which they had filed under the New Law in 2008 but had allowed to be dismissed 25 months

later for failure to prosecute. Defendants should have prosecuted Action 2, rather than allowing it

to be dismissed, just as Defendants had done for their other clients, and which would have

avoided the series of go-nowhere motions filed by Defendants and the Defendants’ failure to




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obtain judgments for each of the Plaintiffs, including solatium for the family member plaintiffs,

over a crucial period of four years.

        95.     On or about August 3, 2012 Defendants finally filed a replacement action on

behalf of Plaintiffs making a claim under the New Law, 28 U.S.C. § 1605A. That new action was

captioned Goldberg-Botvin, et al. v. Islamic Rep. of Iran, D.D.C. case no. 12-cv-1292 (Action 3).

        96.     After Action 3 was filed and the summons and complaint were served, on March

19, 2013 Defendants filed a motion for default judgment and that motion was granted like

clockwork on April 4, 2013. Goldberg-Botvin v. Islamic Rep. of Iran, 938 F. Supp. 2d 1 (D.D.C.

2013) (Ex. G). The Court’s order granted solatium damages to the decedent’s mother Julie

Goldberg-Botvin in the amount of $5 million, to the decedent’s sister Tamar Botvin in the

amount of $2.5 million, and to the decedent’s sister Michal Botvin in the amount of $2.5 million.

The Court also granted punitive damages to all plaintiffs, including the Estate of Yael Botvin, in

the amount of $30.89 million. Thus an additional $10 million of compensatory damages were

awarded, plus punitive damages, over and above the $1.7 million that had been awarded to the

estate at long last in the earlier case.

        97.     Had Defendants not dropped the ball on Action 2, meaning had they diligently

prosecuted Action 2 rather than allowing it to be dismissed after 25 months for lack of

prosecution, that action would have resulted in a judgment against Iran on behalf of the entire

Botvin family, including the Estate of Yael Botvin, in 2008 or 2009, and there would have been

plenty of time for Defendants to file a lien on the Clearstream assets, just like they did for their

clients in the Bland case.

        98.     On February 25, 2013 another group of victims of terrorism holding a judgment

against Iran, the plaintiffs in Wultz v. Islamic Republic of Iran, D.D.C. Case No. 08-cv-1460



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(RCL) filed a motion to intervene in the Peterson case. See Peterson v. Islamic Republic of Iran,

S.D.N.Y. Case No. 10-cv-4518, Dkt. ## 329-331.

       99.      On May 22, 2013 the parties in Peterson informed the Peterson court that a

settlement had been reached with the Wultz plaintiffs, pursuant to which the Wultz plaintiffs

would receive a portion of the Clearstream assets. See Peterson v. Islamic Republic of Iran,

S.D.N.Y. Case No. 10-cv-4518, Dkt. # 407.

       100.     A settlement agreement between the parties to the Peterson case was entered into,

dated May 24, 2013, and signed on behalf of the Bland plaintiffs by Defendant NOEL

NUDELMAN, a partner of the other Defendants.

       101.     At the time Defendant NUDELMAN signed the settlement agreement resolving

the Wultz’ claims against the Clearstream assets, NUDELMAN and the rest of the Defendants

were representing the Plaintiffs.

       102.     Defendants failed to make a similar motion to intervene in the Peterson case on

behalf of the Plaintiffs, either after the July 3, 2012 judgment was entered on behalf of the

ESTATE OF YAEL BOTVIN, or after April 4, 2013 judgment on behalf of JULIE BOTVIN,

MICHAL BOTVIN, or TAMAR BOTVIN.

       103.     Defendants also never disclosed to any of Plaintiffs the existence of the Peterson

case, the settlement agreement they had entered into on behalf of their clients the Bland

plaintiffs, or the settlement agreement they entered with respect to the Wultz plaintiffs’ claim.

       104.     Defendants never informed Plaintiffs that they should retain other counsel to

represent them with respect to the Clearstream assets.

       105.     At all relevant times Plaintiffs had no knowledge of the existence of the

Clearstream assets or the Peterson case, or Defendants’ involvement in that case, that Defendants

also represented the Bland plaintiffs who had a conflicting claim to the Clearstream assets, or
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that other terror victims, the Wultz plaintiffs, had been able to intervene in the Peterson case and

obtain a portion of the Clearstream assets.

       106.      Following entry of judgment in the Goldberg-Botvin case, Defendants took no

measures to obtain a portion of the Peterson/Citibank money for the Goldberg-Botvin plaintiffs.

       107.      On or about April 10, 2016, an appeal in the Peterson/Citibank case was decided

by the US Supreme Court, Bank Markazi v. Peterson, 136 S. Ct. 1310 (2016) in favor of the

plaintiffs, and all the settling parties got their share of the Peterson/Citibank money.

Unfortunately, due to Defendants’ ineptness and bungling, Plaintiffs did not even have a seat at

that table and got none of that money.

       108.      Had Plaintiffs been included in the Peterson/Citibank case, under the pro rata

formula of the settlement in that case they would have received $5,913,443.53 total, consisting of

$859,218.29 for the Estate of Yael Botvin, $2,527,112.62 for Julie Goldberg-Botvin,

$1,263,556.31 for Tamar Botvin, and $1,263,556.31 for Michal Botvin. A chart showing what

the pro rata calculation in Peterson/Citibank would have looked like had the Botvins been

included is as follows:

                                                   Pro rata            Share of Peterson/
   Case name           Judgment Amount ($)
                                                  percentage           Citibank funds ($)
Peterson                  2,656,944,877.00         70.724%            1,342,879,786.54
Greenbaum                    19,879,023.00          0.529%               10,047,305.98
Acosta                       50,172,000.00          1.335%               25,358,058.89
Rubin                        71,500,000.00          1.903%               36,137,710.48
Heiser                      291,089,966.00          7.748%              147,123,425.40
Levin                        28,807,719.00          0.767%               14,560,070.06
Valore                      290,291,092.00          7.727%              146,719,656.49
Kirshenbaum                  13,750,000.00          0.366%                6,949,559.71
Beer                         13,000,000.00          0.346%                6,570,492.82
Murphy                       31,865,570.00          0.848%               16,105,576.83
Bland                       277,805,908.00          7.395%              140,409,363.27
Estate of Yael                1,700,000.00          0.045%                  859,218.29
Botvin
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Julie Goldberg-                5,000,000.00           0.133%              2,527,112.62
Botvin
Tamar Botvin                   2,500,000.00           0.067%              1,263,556.31
Michal Botvin                  2,500,000.00           0.067%              1,263,556.31

                         3,756,806,155.00         100.000%            1,898,774,450.00

       109.     The only reason why Plaintiffs did not have their judgment in time to serve

creditor process on Citibank and get themselves included in the Peterson/Citibank case was

because Defendants bungled their case by delaying filing it after being retained for no valid

reason, then filing a mindboggling series of inept and half-baked motions, then filing a claim

under the New Law but failing to prosecute it for 25 months, resulting it being dismissed for

failure to prosecute, and then not filing a replacement action under the New Law until four-and-

a-half years after that New Law was enacted.

       110.     Defendants’ procrastination and negligence cost Plaintiffs $5,913,443.53 that they

could have recovered in the Peterson/Citibank case had Defendants not been asleep at the switch,

plus pre- and post-judgment interest.

       111.     It is particularly galling that the Rubin plaintiffs—whose claim arose from the

same 1997 bombing on Ben Yehuda Street in Jerusalem as Plaintiffs’—recovered $36 million

from the Peterson/Citibank case, because their attorneys did not drop the ball for years, like

Defendants did.

       112.     Defendants’ other clients, the Bland plaintiffs recovered in excess of $140 million

from the Clearstream assets.

       113.     It is equally galling that most of the judgment-creditors who received a share of

the Peterson/Citibank case proceeds commenced their cases after Plaintiffs, yet they were

diligent and obtained their judgments years before Defendants finally managed to bungle their

way to obtaining a judgment for Plaintiffs. For example, the Heiser plaintiffs commenced their

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action in 2007 and had a judgment in 2009. The Valore case had a 2006 docket number and had

a judgment in 2009; the Bland case had a 2005 docket number and had a judgment in 2011; the

Levin case, had a 2005 docket number and had a judgment in 2008; and the Greenbaum, Acosta,

Beer and Kirshenbaum, cases had docket numbers of 2002, 2006 and 2008, and 2003, and had

judgments in 2006, 2008, 2011, and 2008, respectively.


                        AS AND FOR A FIRST CLAIM FOR RELIEF
       114.     Plaintiffs repeat and re-allege each of the foregoing allegations with the same

force and effect as if more fully set forth herein.

       115.     The defendants were reckless, careless, and negligent in their representation of the

Plaintiffs in that they failed to pursue enforcement of Plaintiffs’ claim in a timely and diligent

manner; filed but failed prosecute for 25 months, and allowed to be dismissed, an action under

the New Law, 28 U.S.C. § 1605A, and did not file another action under the New Law that they

did prosecute for four-and-a-half years after the New Law’s enactment; persisted in pursuing a

claim under the Old Law, despite the limitations of the Old Law that made most of Plaintiffs’

claim non-viable; persisted in filing half-baked and insufficient papers, and irrelevant and

deficient motions, resulting in a delay of many years in Plaintiffs obtaining their judgment, for

no valid reason at all and not due to any reasonable strategy or professional judgment call; failed

to diligently obtain a judgment for Plaintiffs so that they could pursue enforcement of such a

judgment against Iranian assets in the United States, including the Peterson/Citibank assets;

failed to intervene in the Peterson case or otherwise try to obtain some of the Clearstream assets

for Plaintiffs; failed to inform Plaintiffs of their lack of diligence or the damage that resulted to

them by virtue thereof; failed to inform Plaintiffs that they had a conflict of interest with respect

to their representation of other plaintiffs whose claims they were pursuing against the


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Clearstream assets; failed to inform Plaintiffs that they were acting outside their competence

zone; failed to properly conduct due diligence; failed to inform Plaintiffs that they should seek

advice of other counsel; failed to comply with applicable statutes, laws, rules and regulations;

failed to have efficient and sufficient personnel; failed to comport themselves reasonably and

prudently; failed to warn plaintiff of the dangers and perils; and the defendants were otherwise

reckless, careless and negligent.

         116.     In communicating with Plaintiffs, Defendants have sought to blame the court for

the delays in obtaining a judgment for the Plaintiffs, but this claim is fatuous and disingenuous.

Courts sometimes take time to decide matters. But when a matter is decided against a plaintiff

because the plaintiff’s lawyer presented the wrong papers, made the wrong arguments, or

proceeded under the wrong law, the cause of the delay is the plaintiff’s lawyer errors, not the

court.

         117.     Defendants’ negligence caused plaintiff to be damaged in that their judgment

came too late for them to execute their judgment against the Peterson/Citibank assets.

         118.     But for Defendants’ negligence, Plaintiffs would have been included in the

Peterson/Citibank case and would have received a share of the recovery therein prorated against

the compensatory damages awards of the other judgment creditors who participated in that case,

which would have resulted in a recovery of $5,913,443.53, plus a prorated share of the interest

that accumulated on the Peterson/Citibank assets.

         119.     By reason of the foregoing, Plaintiffs are entitled to recover the full extent of their

damages as alleged herein.




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                       AS AND FOR A SECOND CLAIM FOR RELIEF
       120.     Plaintiffs repeat and re-allege each of the foregoing allegations with the same

force and effect as if more fully set forth herein.

       121.     If Defendants are found to have committed malpractice in their representation of

Plaintiffs, then they are not entitled to receive legal fees from Plaintiffs. See Hendry v. Pelland,

73 F.3d 397 (D.C. Cir. 1996); Winter v. Brown, 365 A.2d 381 (D.C. Court of Appeals 1976).

       122.     Plaintiffs demand a declaratory judgment declaring that Defendants are not

entitled to any legal fees from Plaintiff, and that if they have received any legal fees from

Plaintiff they must refund such fees to Plaintiffs.


                        AS AND FOR A THIRD CLAIM FOR RELIEF
       123.     Plaintiffs repeat and re-allege each of the foregoing allegations with the same

force and effect as if more fully set forth herein.

       124.     Defendants have sought to charge Plaintiffs for disbursements that were

occasioned by their inattentiveness and negligence, including all the expenses incurred trying to

prove Israeli law, and the expenses incurred by virtue of having two judgments in two separate

actions, Action 1 and Action 3, that needed to be served, whereas if Defendants had simply

prosecuted Action 2 they would have gotten a single judgment for all Plaintiffs and only one

service of judgment would have had to be served.

       125.     These expenses that should not have been incurred included $4,500 on January

25, 2013 for serving the order and judgment in Action 1; $3,898 on July 22, 2010 as an expert

fee to Israel law expert Michael Dvorin, and $7,000 on June 15, 2011 as an expert fee to Israel

law expert Boaz Shnoor, for opinions on Israeli law.

       126.     Additionally, Defendants incurred expensive and pointless expenses for

videotaping the deposition of Plaintiff JULIE BOTVIN and MICHAL BOTVIN. First, there was
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no need for Plaintiffs to depose themselves. There was no defendant to conduct a cross

examination, so taking the deposition was pointless. Declarations would have sufficed.

Moreover, since the depositions were unnecessary, so too was the videotaping of the depositions

unnecessary.

          127.     The needless costs incurred by these depositions included $272.50 on February

28, 2008 for videotaping the deposition of Julie Botvin; $545 on March 10, 2008 for video

production services for the deposition of Julie and Michal Botvin; $35.63 for DVD duplication

of the deposition of Julie and Michal Botvin; and $738.50 on March 25, 2008 to Carmelita Lee,

court reporter for the depositions of Julie and Michal Botvin.

          128.     Plaintiffs demand a declaratory judgment declaring that these charges need not be

paid by Plaintiffs, and that if Plaintiffs have paid these charges, in whole or in part, including via

the $5,000 advance towards the expenses of the case that Defendants received when they were

originally retained, then such payment should be refunded to Plaintiffs.


                                     DEMAND FOR JURY TRIAL
          129.     Plaintiffs demand a trial by jury for all issues as to which a jury trial is permitted

by law.

          WHEREFORE, Plaintiffs demand judgment against the defendants in the amounts and

for the relief requested herein, plus such preliminary and injunctive relief as may be permitted by

law and/or equity or the court’s inherent powers, all in addition to such attorney’s fees as may be

recovered by law, plus pre-judgment and post-judgment interest.




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Dated:   Brooklyn, New York
         December 6, 2021
                                     Yours,

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